273 F.3d 916 (9th Cir. 2001)
    MARIO RICHARDS-DIAZ, PETITIONER-APPELLANT,v.ADELE J. FASANO, DISTRICT DIRECTOR, RESPONDENT-APPELLEE.
    No. 99-56530D.C. No. 99-CV-327 BTM (A35 001 128)
    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
    Filed December 6, 2001
    
      On Remand From the United States Supreme CourtBefore: Boochever, Tashima, and Richard C. Tallman, Circuit Judges.
    
    
      1
      This case has been remanded by the United States Supreme Court for reconsideration in light of the Court's decision in INS v. St. Cyr, 121 S. Ct. 2271 (2001). See Fasano v. Richards-Diaz, 121 S. Ct. 2584 (2001). We asked for further briefing and, in such briefing, the parties agree that, in light of St. Cyr, petitioner is eligible to apply for discretionary relief from deportation under former §§ 212(c) of the Immigration and Naturalization Act, 8 U.S.C. §§ 1182(c) (1994).1
    
    
      2
      Accordingly, the judgment of the district court is vacated and this case is remanded to the district court with directions that it further remand this case to the Board of Immigration Appeals for consideration of petitioner's application for discretionary relief from deportation.
    
    
      
        Notes:
      
      
        1
         Section 212(c) was repealed by§§ 304(b) of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L. No. 104-208, 110 Stat. 3009 (1996).
      
    
    